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9                       UNITED STATES DISTRICT COURT

10
                      CENTRAL DISTRICT OF CALIFORNIA
11

12   MICHAEL GRECCO PRODUCTIONS, CASE NO.: 2:19-cv-04716-AB-KS
     INC., d/b/a “Michael Grecco             Hon. André Birotte, Jr. Presiding
13
     Photography”, a California corporation,
14                                           STIPULATION TO DISMISS
     Plaintiff,                              ACTION WITH PREJUDICE
15

16   v.
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     BDG MEDIA, INC.; and DOES 1
18   through 10 inclusive,
19   Defendants.
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                         STIPULATION TO DISMISS ACTION WITH PREJUDICE
     Case 2:19-cv-04716-AB-KS Document 92 Filed 02/17/22 Page 2 of 2 Page ID #:776




1          TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
2    COUNSEL OF RECORD:
3          PLEASE TAKE NOTICE THAT Plaintiff Michael Grecco Productions,
4    Inc., on the one hand, and Defendant BDG Media, Inc., on the other, hereby
5    stipulate as follows:
6          1. The entire action is hereby dismissed in its entirety with prejudice; and
7          2. The parties will each bear their respective costs and attorneys’ fees as
8              incurred against one another in connection with this action.
9          SO STIPULATED.
10

11   Date: February 17, 2022                   By:     /s/ Stephen M Doniger
12
                                                       Stephen M. Doniger, Esq.
                                                       Kelsey M. Schultz, Esq.
13                                                     DONIGER / BURROUGHS
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                                                       Attorneys for Plaintiff

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16   DATE: February 17, 2022                   By:     /s/ Eleanor M. Lackman
                                                       Eleanor M. Lackman
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                                                       Bradley J. Mullins
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                                                       Attorneys for Defendant
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                             STIPULATION TO DISMISS ACTION WITH PREJUDICE
